Case 2:21-cv-10523-SJM-APP ECF No. 23-2, PageID.158 Filed 10/30/21 Page 1 of 4




                         EXHIBIT A
       Case 2:21-cv-10523-SJM-APP ECF No. 23-2, PageID.159 Filed 10/30/21 Page 2 of 4


Daniel Bernard

From:               Daniel Bernard
Sent:               Tuesday, October 5, 2021 2:09 PM
To:                 Lan Yao
Subject:            Yao v Oakland University


Ms. Yao – You have not served your required initial disclosures in this matter, and you continue to contact
Oakland University personnel directly despite having been previously instructed not to do so. Accordingly, I
am preparing a motion to compel your initial disclosures and a motion for sanctions related to your continued
refusal to comply with instructions not to contact Oakland personnel directly. The purpose of this email is to
request your concurrence in these motions, pursuant to LR 7.1.

Please advise by Friday, October 8, whether you will concur in these motions. If so, I will prepare appropriate
orders and send them to you for approval. If not, I will file the motions and you will have an opportunity to file
answers to them.

Daniel J. Bernard
Law Office of Daniel J. Bernard
18557 Canal Road, Suite 2
Clinton Township, MI 48038
586-315-2009
586-315-2019 Fax
dan@bernardlaw.us




                                                         1
                                                                                               Exhibit A 1
       Case 2:21-cv-10523-SJM-APP ECF No. 23-2, PageID.160 Filed 10/30/21 Page 3 of 4


Daniel Bernard

From:               Daniel Bernard
Sent:               Wednesday, October 6, 2021 9:32 AM
To:                 Lan Yao
Subject:            RE: Yao v Oakland University


Ms. Yao – As has been explained previously, you must not contact Oakland University personnel directly
regarding this litigation. Your persistent refusal to comply with this instruction is clearly a refusal to concur in
the motion for sanctions I described in yesterday’s email. Also, you have not responded to my request for
concurrence in a motion to compel your initial disclosures. I originally gave you until Friday, October 8, to
respond, but your emails since then clearly convey that you have no intention of concurring. I will proceed
accordingly.

Daniel J. Bernard
Law Office of Daniel J. Bernard
18557 Canal Road, Suite 2
Clinton Township, MI 48038
586-315-2009
586-315-2019 Fax
dan@bernardlaw.us

From: Lan Yao <yaolan_1@yahoo.com>
Sent: Wednesday, October 6, 2021 9:28 AM
To: Daniel Bernard <dan@bernardlaw.us>; pescovitz@oakland.edu
Cc: Lan Yao <yaolan_1@yahoo.com>
Subject: Re: Yao v Oakland University

Mr. Bernard,

Faculty Agreement requires that OU's decision-making body must justify its decisions.
Regarding the
renewal or nonrenewal of faculty appointments, the AAUP Faculty Agreement emphasizes
three key
procedural standards: (1) one-year notice, (2) provision of written reasons for the
decision, and (3)
the opportunity to appeal the decision.

The defendant's initial disclosures should be completed by August 18, 2021 according to
the order of the court ECF No.13.
May I ask, when will I receive your initial disclosure of OU's tenure decision rationales
of all seven nursing candidates (me and my six white comparators) who were reviewed in
2020, and the decision to discontinue my appointment alone based on the reviews of the
seven nursing candidates?



I am copying president Ora Pescovitz, following OU's organizational structure.

Thank you for your attention to this matter and your help.

Sincerely,
Lan Yao, 517-755-8655
______________________
Lan Yao, PhD, RN, FGSA
                                                           1
                                                                                                  Exhibit A 2
       Case 2:21-cv-10523-SJM-APP ECF No. 23-2, PageID.161 Filed 10/30/21 Page 4 of 4
tel: (517) 755-8655, yaolan_1@yahoo.com



On Tuesday, October 5, 2021, 02:09:50 PM EDT, Daniel Bernard <dan@bernardlaw.us> wrote:



Ms. Yao – You have not served your required initial disclosures in this matter, and you continue to contact Oakland
University personnel directly despite having been previously instructed not to do so. Accordingly, I am preparing a motion
to compel your initial disclosures and a motion for sanctions related to your continued refusal to comply with instructions
not to contact Oakland personnel directly. The purpose of this email is to request your concurrence in these motions,
pursuant to LR 7.1.




Please advise by Friday, October 8, whether you will concur in these motions. If so, I will prepare appropriate orders and
send them to you for approval. If not, I will file the motions and you will have an opportunity to file answers to them.




Daniel J. Bernard

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                                                             2
                                                                                                      Exhibit A 3
